107 F.3d 17
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Chandra PRASAD;  Ashika Prasad;  Kumudini Prasad, Petitioners,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 96-70130.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 14, 1997.*Decided Feb. 19, 1997.
    
      Before:  BRUNETTI, FERNANDEZ, and HAWKINS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Petitioners Chandra, Ashika, and Kumudini Prasad challenge a final order of deportation issued by the Board of Immigration Appeals (BIA).  We affirm the BIA's decision upholding the immigration judge's order finding petitioners to be deportable and denying their requests for asylum and withholding of deportation.  We uphold the BIA's determination unless the evidence compels a contrary conclusion.  INS v. Elias-Zacarias, 502 U.S. 478, 483-84, 112 S.Ct. 812, 816-17 (1992).  It does not do so in this case.
    
    
      3
      As the BIA stated, the petitioners "failed to demonstrate that the harassment which occurred against them and against others similarly situated was condoned by the Fijian government."   They provided evidence only of private discrimination.  When discrimination is "neither condoned by the state nor the prevailing social norm," it does not amount to persecution.  Ghaly v. INS, 58 F.3d 1425, 1431 (9th Cir.1995).
    
    
      4
      The petitioners failed to meet either the burden of proof required for asylum or the higher standard required for withholding of deportation.  Consequently, we affirm the BIA's decision.
    
    
      5
      Petition for review DENIED.
    
    HAWKINS, Circuit Judge, concurring:
    
      6
      This disposition undoubtedly reaches the proper result given the law we must apply to these specific facts.  One would hope, however, that no one would read our decision to condone the apparent disregard of native Fijians for the rule of law and the most basic principles of religious freedom.1
    
    
      
        *
         The panel unanimously finds this case suitable for submission without oral argument pursuant to Fed.R.App.P. 34(a) and Ninth Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         I am indebted to my brother Fernandez for raising the question that focused my thinking on the general conditions present in Fiji
      
    
    